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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA
                                                                  21-mj-5127
     -v-

VANESSA RONDEAU,

                              Defendant.
_______________________________________________

                GOVERNMENT’S NOTICE OF MOTION FOR AN
             ADJOURNMENT OF THE RULE 48(b) DISMISSAL ORDER


       PLEASE TAKE NOTICE that the United States moves the Court for an adjournment

of the date for the Order pursuant to Fed. R. Crim. P. 48(b) dismissing the criminal complaint

in this case from September 15, 2021, to November 19, 2021. The motion is based upon an

accompanying Affidavit of Assistant United States Attorney Aaron J. Mango. Counsel for

the defendant, Jeffrey T. Bagley, consents to the relief sought herein.

       DATED: Buffalo, New York, September 13, 2021


                                            JAMES P. KENNEDY, JR.
                                            United States Attorney


                                    BY:     /s/AARON J. MANGO
                                            Assistant United States Attorney
                                            United States Attorney’s Office
                                            Western District of New York
                                            138 Delaware Avenue
                                            Buffalo, New York 14202
                                            (716) 843-5882
                                            aaron.mango@usdoj.gov
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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA
                                                                 21-mj-5127
    -v-

VANESSA RONDEAU,

                              Defendant.
_______________________________________________

                                      AFFIDAVIT

STATE OF NEW YORK )
COUNTY OF ERIE    )             SS:
CITY OF BUFFALO   )


       AARON J. MANGO, being duly sworn, deposes and states:


       1.      I am an Assistant U.S. Attorney for the Western District of New York and am

presently assigned to prosecute the above-captioned case. This affidavit is made in support

of the government’s motion to adjourn the Rule 48(b) dismissal order.



       2.      On May 26, 2021, a criminal complaint was authorized by the Court charging

the defendant with Lacey Act Trafficking, Lacey Act, False Labeling, and Smuggling. At the

initial appearance on June 15, 2021, the defendant was released on conditions previously

imposed in the District of Vermont, and the Court scheduled a Rule 48(b) dismissal date for

September 15, 2021.



       4.      Since the initial appearance, the government has provided significant discovery

to the defendant, and the parties have had preliminary discussions regarding a pre-indictment
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resolution of the case. However, the parties are requesting additional time to allow the

defendant to review the voluminous discovery provided, and further discuss a pre-indictment

resolution. Therefore, the parties respectfully move this Court to adjourn the Rule 48(b) date

from September 15, 2021, to November 19, 2021, and to exclude time under the Speedy Trial

from the September 15, 2021, to November 19, 2021, pursuant to Title 18, United States

Code, Sections 3161(h)(7)(A) and (h)(7)(B)(iv). Counsel for the defendant consents to this

motion, and agrees to the exclusion of time from September 15, 2021, to November 19, 2021,

under the Speedy Trial Act, in that the ends of justice are served by such an adjournment and

outweigh the best interests of the public and the defendant in a speedy trial.



       5.      It is in the best interests of the defendants to resolve the case in such a way that

provides a more favorable plea and sentence than what the defendants would face if convicted

after indictment and trial. The time, resources, and expense of grand jury action, a trial, and

possible appeal would be saved if a pretrial resolution is reached, and therefore the interests

of justice outweigh the interest of the public in a speedy trial.




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       WHEREFORE, for all of the foregoing reasons, the parties respectfully request that

the Court grant the government's motion to adjourn the Rule 48(b) dismissal date for the

pending criminal complaint until November 19, 2021, and to exclude the period from

September 15, 2021, to November 19, 2021, from the Speedy Trial Act, pursuant to Title 18,

United States Code, Sections 3161(h)(7)(A) and (h)(7)(B)(iv).


                                          /s/AARON J. MANGO
                                          Assistant United States Attorney
                                          United States Attorney’s Office
                                          Western District of New York
                                          138 Delaware Avenue
                                          Buffalo, New York 14202
                                          (716) 843-5882
                                          Aaron.Mango@usdoj.gov

Sworn to before me this 13th day
of September, 2021.

/s/KATHLEEN M. RIEMAN
Notary Public, State of New York
Qualified in Erie County
My Commission Expires 9-23-2021




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